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                    IN THE UNITED STATES DISTRICT COURT FOR THE

                              EASTERN DISTRICT OF VIRGINIA

                                        Alexandria Division

UNITED STATES OF AMERICA                               )
                                                       )
               v.                                      )
                                                       )       No. 1:18-CR-457-AJT
BIJAN RAFIEKIAN, et al.,                               )
                                                       )
       Defendants.                                     )

               GOVERNMENT’S MOTION TO DISMISS COUNTS ONE AND
                          TWO OF THE INDICTMENT

       The United States respectfully moves pursuant to Federal Rule of Criminal Procedure

48(a), to dismiss Counts One and Two of the indictment in this case with prejudice. Defendant

Bijan Rafiekian is only charged in Counts One and Two of the indictment. After carefully

considering the Fourth Circuit’s recent decision in this case and the principles of federal

prosecution, the United States believes it is not in the public interest to pursue the case against

defendant Bijan Rafiekian further. Defendant Rafiekian does not oppose this motion. A

proposed order is attached to this motion for the Court’s convenience.
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                                            Respectfully submitted,

                                            JESSICA D. ABER
                                            UNITED STATES ATTORNEY


               /s/                    By:                /s/
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                                    CERTIFICATE OF SERVICE

       I hereby certify that on September 11, 2023, I electronically filed the foregoing using the

CM/ECF system, which will send a notification of such filing to counsel of record.

                                             Respectfully submitted,


                                                    /s/
                                             John T. Gibbs
                                             Assistant United States Attorney




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